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IN THE UNITED STA'I`ES DlSTRICT COURT
FOR THE DIS'I`RICT OF MARYLAND w

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THE UNITED sTATES or * § "‘ § §;.;§§
AMERICA, _; § ‘;-';:é?':
v_ * CRIMINAL Nlo. alca-i&ss;:;¢.j
§ " w _ 55 §§
4 MARQUISE MCCANTS, * '*;’ §§ §§
Defendant. *
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_VM

Count One: Conspiracy to Participate in the Affairs of a Racketeering Enterprise

MARQUISE MccAN'rs as to Count one or the second

A. I-low do you find the defendant
articipate in the affairs of a racketeering enterprise?

Superseding Indictment, conspiracy to p

 

Not Guilty Guil 7
B. If you have found the defendant MARQUISE MCCANTS not guilty of Count One,

` proceed to Count Two. If you have found the defendant MARQUISE MCCANTS guilty of

Count One, you must next indicate what type or types of racketeering activity you found Were
reasonably foreseeable to him in furtherance of the racketeering enterprise (cheok all that apply).

 

 

Racketeeri`ng Activity ` One Act Multiple
` § Acts

 

 

 

lSt Degree Murder
2“d Degree Murder
Attempted Murder

Conspiracy to Cornmit Murder `/

Robbery ' l/
Conspiracy to Distribute and Possess with the Intent to /

 

 

 

 

 

 

 

Distribute Controlled Substances
Distribution and Possession With the lntent to Distribute

Controlled Substances
Tampering With witnesses, victims, and informants
Retaliating against victims, Witnesses, and informants

 

 

 

 

 

 

 

 

 

 

C._ If you have found MARQUISE l\/ICCANTS guilty of Count One, but have not found that
keteering acts foreseeable to him in furtherance of the enterprise was

one or more of the rac
Conspiracy to Distribute and Possess With the Intent to Distribute Controlled Substances and/or

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Distribution and Possession With the Intent to Distribute Controlled Substances, proceed to
Count Two. If, on the other hand, you have found that one or more of the racketeering acts

_ foreseeable to him in furtherance of the enterprise Was Conspiracy to Distribute and Possess With
the Intent to Distribute Controlled Substances and/or Distribution and Possession with the Intent
to Distribute Controlled Substances, you must next indicate the type of drug(s) that Was
foreseeable to him in furtherance of that racketeering activity (check all that apply).

T of Dru

Heroin

Cocaine

Cocaine base “crack
codone ,

l\/lari'

 

-D. Next, as to Count One, if you have found MARQUISE MCCANTS guilty of Count One,
and found that Conspiracy to Distribute and Possess With the Intent to Distribute Controlled
Substances and/or Distribution and Possession With the Intent to Distribute Controlled Substances
was one of the racketeering acts foreseeable to him in furtherance of the enterprise, but have not
found that heroin was one of the types of drugs foreseeable to him as part of those racketeering
acts, proceed to Count One-E. If, on the other hand, you have found that heroin Was one of the
types of drugs foreseeable to him as part of the racketeering activity, you must next indicate the

quantity of heroin foreseeable to him as part of that racketeering activity (check only one).

 

Quantity of Heroin
100 grams or more of heroin
Less than 100 grams

 

 

 

 

 

_E. 7 Finally,. as to Count One, if you have found MARQUISE MCCANTS guilty of Count
One, and found that Conspiracy to Distribute and Possess With the Intent to Distn`bute Controlled
Substances and/or Distribution and Possession with the Intent to Distribute Controlled Substances
Was one of the racketeering acts foreseeable to him in furtherance of the enterprise, but have not
found that cocaine base (“crack”) was one of the types of drugs foreseeable to him as part of
those racketeering acts, proceed to Count Two. if, on the other hand, you have found that
cocaine base (“crack”) was one of the types of drugs foreseeable to him as part of the
racketeering activity, you must next indicate the quantity of cocaine base (“crack”) foreseeable to
him as part of that racketeering activity (check only one). ‘

 

“““_r’: 3'

Quantity of Cocaine Base (“Crack”)
280 grams or more
LLess than 280 grams

 

 

 

 

 

 

 

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Count Two: Conspiracy to Distribute and Possess with the Intent to Distribute Controlled
Substances

A. flow do you find the defendant l\/IARQUISE MCCANTS as to Count Two of the Second
Superseding Indictment, conspiracy to distribute and possess with the intent to distribute
controlled substances? 7

`Not Guilty Guilty \/

B. lf you have found the defendant MARQUISE MCCANTS not guilty as to Count Two,
proceed to Count Eight. If you have found the defendant MARQUISE MCCANTS guilty of
Count Two, you must next indicate what type of drug(s) was reasonably foreseeable to him in
furtherance of the drug trafficking conspiracy (check all that apply).

T of
Heroin

Cocaine

Cocaine base ‘crack
oodone

Mari`uana

  

C. Next, as to Count Two, if you have found MARQUISE MCCANTS guilty of Count Two,
but have not found that heroin was one of the types of drugs foreseeable to him as part of the
drug trafficking conspiracy, proceed to Count Two-D. If, on the other hand, you have found that
heroin was one of the types of drugs`foreseeable to him as part of the drug trafficking conspiracy,
you must next indicate the quantity of heroin foreseeable to him (check only one).

 

Quantity of Heroin
100 grams or more of heroin
Less than 100 grams

 

 

 

 

 

 

D. Finally, as to Count Two, if you have found MARQUISE MCCANTS guilty of Count
Two, but have not found that cocaine base (“crack”) was one of the types of drugs foreseeable to
him as part of the drug trafficking conspiracy, proceed to Count Eight. lf, on the other hand, you
have found that cocaine base (“crack”) was one of the types of drugs foreseeable to him as part
of the drug trafficking conspiracy, you must next indicate the quantity of cocaine base (“crack”)

foreseeable to him (check only one).

 

Quantity of Cocaine Base (“Crack”)
280 grams or more
liess than 280 grams

 

 

 

 

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Count Eight: Possession of a Firearmby a Felon

A. flow do you find the defendant MARQUISE l\/ICCANTS as to Count Eight of the Second
Superseding lndictrnent, possession of a firearm by a felon?

Gu‘liry ~/

Not Guilty

The foregoing constitutes the unanimous verdict of the jury.

' SIGNATURE REDACTED
/" Z-B_’ZO/g `\__, __ .__ _-___ ___ ____, ___ .____../
DATE: FOREPERSON

